              Case 2:23-mc-51499-MFL ECF No. 1-1, PageID.27 Filed 10/13/23 Page 1 of 5
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                                                          (DVWHUQ'LVWULFWRI0LFKLJDQ

8QLWHG6WDWHVRI$PHULFD
    v.                                                                                 &DVH1R 20-CR-20599
John Angelo, et al.

                                                                                       +RQRUDEOH Matthew F. Leitman


      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE


7R Auto Accident Attorneys PLLC


 YOU ARE COMMANDEDWRDSSHDULQWKH8QLWHG6WDWHVGLVWULFWFRXUWDWWKHWLPHGDWHDQGSODFHVKRZQEHORZ
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3ODFH Theodore Levin U.S. Courthouse                                                  'DWHDQG7LPH October 17, 2023 at 9:00 am
          231 W. Lafayette Blvd, CR 207
          Detroit MI 448226



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DSSOLFDEOH *Documents and Testimony*_
*Please deliver the Documents and Data requested in Attachment A via Electronic Production to the Flint USAO by
September 22, 2023

To the extent data or documents that is responsive to this request are withheld because they may be subject to a claim of
privilege by the relevant entity, please identify the data or documents withheld for privilege by Bates Number (as
described in Attachment A) so we can address the privilege claim in a timely fashion.




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'DWH August 25, 2023
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     DOJ Trial Atty Mark McDonald, U.S. Attorney's Office
     210 Federal Building, 600 Church Street
     Flint, MI 48502
     202-305-2672, 810-766-5023
     mark.s.mcdonald@usdoj.gov
              Case 2:23-mc-51499-MFL ECF No. 1-1, PageID.28 Filed 10/13/23 Page 2 of 5
AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case (Page 2)

Case No. 20-CR-20599

                                                                PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                     .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                      on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                          .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                                for services, for a total of $          .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                      Server’s address

Additional information regarding attempted service, etc:
   Case 2:23-mc-51499-MFL ECF No. 1-1, PageID.29 Filed 10/13/23 Page 3 of 5




                  CERTIFICATE OF AUTHENTICITY
                               OF
                       BUSINESS RECORDS

                                                  , attest that:

       I am employed by

that my official title is                                                    and that I

have been appointed the keeper of the attached records.

       Each of the attached records is the original or a duplicate of the original

records in the custody of

       I further state that:

       (a)    these records were made, at or near the time of the occurrence of the
              matters set forth, by (or from information transmitted by) a person
             'with knowledge of those matters;

       (b)    these records were kept in the course of regularly conducted business
              activity; and

       (c)    it was the regular practice of this business to make such records.

      I certify that the foregoing is true and accurate, to the best of my knowledge
and belief.



Executed on
                               Date                          Signature



              Location
Case 2:23-mc-51499-MFL ECF No. 1-1, PageID.30 Filed 10/13/23 Page 4 of 5




                               ATTACHMENT A

A) UNREDACTED COPIES of all business records, invoices sent/received,
   billing records, employment records, advertising agreements, marketing
   agreements, employment contracts, wages earned, hours worked, agency fees
   earned, shipping records, collection records, or any other business records
   pertaining to funds delivered to the following business entities from January 1,
   2014, to the present [Please do not provide documents you understand to be
   protected by Attorney Client Privilege, but please do provide a Privilege Log so
   we may address Privilege issues with the court]:
• 4 Health Management LLC (EIN XX-XXXXXXX/XX-XXXXXXX)
• 411 Help (EIN XX-XXXXXXX)
• 4 Transport (EIN XX-XXXXXXX)
• Gravity Imaging LLC (EIN XX-XXXXXXX)
• Greater Lakes Ambulatory Surgical Center (EIN XX-XXXXXXX)
• J&A Consultants, Incorporated (EIN XX-XXXXXXX)
• NJC Marketing, LLC (EIN XX-XXXXXXX)
• Pacific Marketing & Advertising (EIN XX-XXXXXXX)
• Robin Street Consultants, LLC (EIN: XX-XXXXXXX)
• Standard Care Inc./Standard Medicals Inc. (EIN XX-XXXXXXX)
   Case 2:23-mc-51499-MFL ECF No. 1-1, PageID.31 Filed 10/13/23 Page 5 of 5




Electronic Production Specifications


1. Relativity formatted .dat load file containing the metadata fields detailed in the
attached field list for each database record.
2. Relativity formatted .opt image cross reference load file.
3. Document level extracted text files named with the Bates begin number. If text cannot
be extracted, those documents are to be OCR'd. Do not include extracted or OCR text
in the .dat file.
4. Group IV single page .tif or .jpg images AND native files.
5. Native electronic files are to be produced in addition to Tiff or JPEG images. The
native file is to be named by the Bates number of the first page of the document. If a file
cannot be rendered to tiff then a slip-sheet image is to be produced and Bates
endorsed. The slip-sheet should contain the Original Path and Original File Name.
6. Electronic data such as relational database systems, legacy systems, voicemail
systems, or other non-standard type electronic data should be discussed before
producing.
7. Deduplication processing specifications should be discussed with the Prosecution
Team before proceeding.
8. Electronic files that cannot be processed will be listed on an exception report and the
report is to be provided.
9. Archived or compressed files (e.g., ZIP, TAR, ISO) shall be decompressed and
processed.
10. Privilege log(s) are to be produced in an electronic format such as MS Excel.
